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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN OF PENNSYLVANIA

JAMES DITSCHE                                   :
4512 E. Stiles Street                           :
Philadelphia, PA 19124                          :       CIVIL ACTION
               Plaintiff,                       :
                                                :       No.:
        v.                                      :
                                                :
CITY OF PHILADELPHIA, d/b/a                     :
PHILADELPHIA PARKS AND                          :       JURY TRIAL DEMANDED
RECREATION DEPARTMENT                           :
1515 Arch Street                                :
Philadelphia, PA 19102                          :
                                                :
                 Defendant.                     :
                                                :

                                 CIVIL ACTION COMPLAINT

        Plaintiff, James Ditsche, (hereinafter referred to as “Plaintiff”), by and through his

undersigned counsel, hereby avers as follows:

                                          I. Introduction

        1.       Plaintiff has initiated this action against the City of Philadelphia, Philadelphia

Parks & Recreation Department (hereinafter referred to as “Defendant”) for violations of the

Family and Medical Leave Act ("FMLA" - 29 U.S.C. §§ 2601, et. seq.). This lawsuit is premised

upon wrongful termination from employment (as well as unlawful pre-termination dissuasion

and interference). As a direct consequence of Defendant’s unlawful actions, Plaintiff seeks

damages as set forth herein.

                                  II.     Jurisdiction and Venue

        2.       This action is initiated pursuant to the Family and Medical Leave Act ("FMLA").

This Court may properly maintain personal jurisdiction over Defendant because Defendant’s

contacts with this State and this judicial district are sufficient for the exercise of jurisdiction over
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Defendant to comply with traditional notions of fair play and substantial justice, satisfying the

standard set forth by the United States Supreme Court in International Shoe Co. v. Washington,

326 U.S. 310 (1945) and its progeny.

        3.       This Court has original subject matter jurisdiction over this action pursuant to 28

U.S.C. § 1331 because the claims arise under laws of the United States. This Court has

supplemental jurisdiction over any state claims Plaintiff may pursue (now or in the future)

because such claim(s) would arise out of the same common nucleus of operative facts as her

federal claims asserted herein.

        4.       Venue is properly laid in this District pursuant to 28 U.S.C. sections 1391(b)(1)

and (b)(2), because Defendant resides in and/or conducts business in this judicial district and

because a substantial part of the acts and/or omissions giving rise to the claims set forth herein

occurred in this judicial district.

                                            III.    Parties

        5.       The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        6.       Plaintiff is an adult with an address as set forth above.

        7.       The City of Philadelphia, by and through its departments (such as Parks &

Recreation), is a municipal entity operating in the State of Pennsylvania and employing more

than 100 employees in many organizations, branches, and departments.

        8.       At all times relevant herein, Defendant acted by and through its agents, servants,

and employees, each of whom acted at all times relevant herein in the course and scope of their

employment with and for the benefit of Defendant.




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                                    IV.     Factual Background

        9.       The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        10.      Plaintiff was hired by Defendant effective on or about August 11, 2014; and in

total, Plaintiff was employed with Defendant for approximately 6.5 years.

        11.      Plaintiff was at all relevant times a full-time employee of Defendant working as a

plumbing and heating maintenance worker.

        12.      As to Plaintiff’s role at work, Plaintiff was managed by Michael Finnen

(Plaintiff’s immediate supervisor).

        13.      Plaintiff was considered to work within Defendant’s Parks & Recreation

Department until being involuntarily terminated effective on March 17, 2021 (as outlined ad

nauseum, infra).

        14.      On March 1, 2021, Plaintiff contacted Keivanna Jones (“Jones,” working within

Defendant’s Health Department) via e-mail seeking FMLA forms for medical leave. Plaintiff

was immediately referred to Romesha Wilson (“Wilson”). Wilson was copied on the response

from Jones wherein Jones referred Plaintiff to Wilson for FMLA documentation. Wilson has and

remains employed by Defendant as “human resources” for Defendant’s Parks and Recreation

Department.

        15.      Plaintiff needed leave under the FMLA in March because his elderly mother was

very ill, and she was unable to care for herself. Prior to March of 2021, Plaintiff had been an

exemplary employee performing his job exceptionally well in all respects.

        16.      To be blunt, Wilson handled Plaintiff’s FMLA needs totally incorrectly,

negligently and incompetently. She then caused Plaintiff to be terminated (discussed in depth




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below) due to her own continual errors, mistakes and unlawful handling of FMLA

administration.1

           17.      By March 9, 2021, Plaintiff’s mother had fallen and had substantial injuries to her

leg, back and hip. Plaintiff was seeking FMLA leave from his immediate supervisor and human

resources and consent to start his FMLA leave for over a week.2

           18.      Despite Plaintiff requesting FMLA for over a week, it was not until March 10,

2021 that Wilson decided to document to Plaintiff: “On Friday March 5, 2021, you have

requested Family and Medical Leave (“FMLA”) for Family Member’s Serious Health Condition.

Enclosed please find the “Notice of Eligibility and Rights and Responsibilities,” the

“Certification of Health and Care Provider for Family Member’s Serious Health Condition”

forms (FMLA Certification) along with other information.” Per the correspondence and

attachments to Plaintiff, Plaintiff was given until “March 25, 2021” to return all FMLA

documentation to support his FMLA needs, absence and leave.

           19.      There was literally a documented e-mail chain wherein Plaintiff had requested

FMLA documentation on March 1, 2021 (wherein Wilson was a part of that e-mail chain).

Pursuant to 29 C.F.R. § 825.300(b)(1), Defendant was statutorily required to provide Plaintiff

with all FMLA documentation “within five business days” of March 1, 2021.3

           20.      The March 10, 2021 letter Wilson wrote to Plaintiff falsely identified that Plaintiff

requested FMLA documentation or notified of FMLA needs on “March 5, 2021.” Wilson



1
  The mishandling of Plaintiff’s FMLA needs, the gross incompetence of statutory non-compliance, and the
prejudice Plaintiff suffered was outrageous and egregious.
2
 Plaintiff was unaware that he was supposed to be permitted to immediately use FMLA leave and thereafter be
given documents to justify his urgent need for FMLA.
3
    All FMLA documents were federally required to be provided to Plaintiff by no later than March 7, 2021.



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selected a false date 5 days from her notification to give the impression Defendant was

statutorily compliant (thus knowingly placing a false date in such letter).4

        21.      Plaintiff would have commenced FMLA leave sooner, but he was being told that

he was not permitted to commence FMLA leave until HR “approved” his FMLA leave. This was

extremely prejudicial to Plaintiff. In fact, the majority of employees nationwide start using

federally-protected leave time under the FMLA due to issues that suddenly come up without

notice (and later submit FMLA paperwork after already commencing FMLA leave).

        22.      Plaintiff’s supervisor (Finnen) even memorialized Defendant’s unlawful

administration of the FMLA. On March 10, 2021, Finnen engaged in e-mail exchanges with

Wilson and others wherein he actually memorialized that Plaintiff was told “he can not go on

FMLA without HR approval.” Defendant’s prohibition of permitting Plaintiff to care for his

mother for over a week was per se unlawful. See 29 C.F.R. § 825.313 (where medical leave

needs are “unforeseeable,” the employee has “15 calendar days from receipt of [FMLA

documents and the certification]” to return such documentation justifying his ongoing need for

FMLA leave.5

        23.      Federal leave under the FMLA is expressly for unforeseeable circumstances (and

for imminent leave needs), but Defendant illegally treated the FMLA like it was some kind of
4
  Plaintiff omits a substantial block citation herein. But the failure to provide an employee with FMLA
documentation within five days of such needs prohibits an employer from contesting the employee’s need for
FMLA leave (or from requiring FMLA documentation to later justify the FMLA absenteeism).
5
  Accepting Defendant’s per se unlawful administration of FMLA leave, an employee in a car accident with severe
injuries, an employee whose wife becomes immediately hospitalized with a stroke, or an employee whose child falls
and fractures his skull at school must continue working for weeks without ever being allowed to treat, see, or care
for his or her family member while an employer processes paperwork. The actual FMLA regulations themselves
prohibit this approach and even give examples. See e.g. 29 C.F.R. § 825(b)(explaining where FMLA leave needs are
“unforeseeable,” such as “in the case of a medical emergency,” an employee can continue using FMLA leave and
even be entitled to longer than 15 days to provide FMLA documentation supporting a medical need for absences. In
fact, the only time FMLA leaves are normally foreseeable such that approval can be given pre-leave is for maternity
or paternity leave.



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vacation policy requiring weeks of approval processes before it can start (regardless of employee

or medical exigency).

       24.     After waiting 10 days to be permitted to start caring for his mother (who needed

care sooner), Plaintiff had no choice but to leave work on March 10, 2021 to start providing care

for his mother. She needed help and could not care for herself. Finnen memorialized to Wilson

and others via e-mail on March 10, 2021 that Plaintif said he had to start his FMLA that day and

left his shift early to commence FMLA.

       25.     The only reason Plaintiff was even sent the March 10, 2021 letter from Wilson is

because he waited so long to care for his mother, complained to his immediate management that

HR was not following up with him, and that he had to stop working to take care of his mother on

March 10, 2021.

       26.     In fact, Joseph Rainis (“Rainis”), a Superintendent for Defendant’s Parks and

Recreation Department, wrote in an e-mail on March 10, 2021 to Wilson and others that Plaintiff

complained: “[H]e has tried to get in touch with [HR] and he has not received anything back

from HR. So, at this point James has left work and he said he is on FMLA.”

       27.     As of March 10, 2021, Defendant had: (a) ignored Plaintiff’s pleas to start FMLA

to take care of his mother; (b) did not timely give him any FMLA documents per statutory

requirements; and (c) prejudiced Plaintiff by not letting him start using FMLA leave earlier.

       28.     After Wilson was exposed for ignoring Plaintiff for approximately 10 days, she

then falsified the date on the FMLA notice as if Plaintiff sought FMLA only 5 days earlier, not

10 days earlier.

       29.     Compounding Wilson’s incompetence, the physician whom Plaintiff took FMLA

documents to would not agree to fill them out because of Defendant’s ongoing FMLA mistakes.




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In particular, Wilson had sent Plaintiff FMLA forms with a different employee’s health /

personal information within them (giving Plaintiff the FMLA forms of a different employee).

Plaintiff was willing to cross out or write over the other employee’s information, but no

reasonable physician would fill out or prepare FMLA documentation bearing a different

employee’s information.

        30.     Plaintiff was then provided with revised FMLA documentation; but before he

could even get it filled out or submitted to Defendant, he was suddenly terminated effective

March 17, 2021. This was despite that his FMLA forms expressly stated he had until “March

25, 2021” to submit FMLA forms to justify his FMLA absence(s). Pursuant to 29 C.F.R. §

825.313, Defendant was statutorily required to give Plaintiff at least 15 days to get his FMLA

forms filled out to justify his prior (or ongoing) FMLA usage. Thus, Defendant even ignored its

own forms giving Plaintiff 15 days (per FMLA regulations), as well as requirements of the

FMLA.

        31.     Plaintiff kept in touch with Defendant’s management and human resources while

out confirming his need for FMLA, care for his mother, and attempts to get FMLA documents

filled out / submitted.

        32.     Shockingly (and falsely), Plaintiff was terminated though effective March 17,

2021. And the basis of Defendant’s termination was: Plaintiff was “charged absent without leave

(AWOL) for five (5) consecutive days from March 10, 2021 to March 16, 2021 . . . and did not

“report to work as scheduled.” A letter to Plaintiff from Misty Caleb (Human Resources

Manager) memorialized that on “March 17th [Plaintiff] was advised that [he was] being

terminated for job abandonment after reaching five (5) consecutive AWOL days.”




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        33.    Defendant’s non-compliance with the FMLA, termination of Plaintiff for using

FMLA, and completely illegal FMLA administration literally shocks the conscience of any

objectively reasonable person. And all levels of management and human resources were on e-

mails outlining all of the above, illustrating institutional incompetence and illegality.

        34.    Plaintiff seeks all available remedies including but not limited to backpay,

reinstatement, front pay (if reinstatement is not feasible), liquidated damages, attorney’s fees,

and costs (among any other damages available).

                                            Count I
                    Violations of Family and Medical Leave Act ("FMLA")
                                  (Interference & Retaliation)

        35.    The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        36.    Plaintiff was a full-time employee who worked for Defendant for more than 1

year within a location that employed at least 50 employees within 75 miles. Plaintiff met all

eligibility requirements to be legally entitled to FMLA at anytime in calendar year 2021

(inclusive of March, 2021 and thereafter).

        37.    Plaintiff seeks relief herein for: (a) Defendant’s failures to properly designate

FMLA, failure to provide proper information and notices and to follow FMLA regulations; (b)

Defendant’s attempts and actions to dissuade use of FMLA rights and privileges; (c) Defendant’s

mistreatment of Plaintiff for his exercise and/or attempted exercise of her FMLA rights

(including preventing him from taking necessary leave and forcing him to continue working);

and (d) for terminating Plaintiff because of and following the functional exercise of his FMLA

rights and to prevent Plaintiff from further exercising his FMLA rights.




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          38.         The actions and inactions as outlined in this entire complaint and only briefly

summarized in this Count Section constitute both interference and retaliation violations of the

FMLA.

          WHEREFORE, Plaintiff prays that this Court enter an order providing that:

          A.          Defendant is to be prohibited from continuing to maintain its illegal policies,

practices, or custom(s) of discriminating or retaliating against employees based on FMLA needs,

and       is     to     be    ordered     to   promulgate     an    effective    policy    against    such

discrimination/retaliation/interference and to adhere thereto;

          B.          Defendant is to compensate Plaintiff, reimburse Plaintiff, reinstate Plaintiff where

determined to be possible and/or feasible, and make Plaintiff whole for any and all pay and

benefits Plaintiff would have received had it not been for Defendant’s illegal actions, including

but not limited to back pay, front pay (absent reinstatement), salary, pay increases, bonuses,

many remaining unpaid expenses incurred while working for Defendant, medical and other

benefits, training, promotions, pension, and seniority. Plaintiff should be accorded those benefits

illegally withheld from the date he first suffered the aforesaid unlawful actions at the hands of

Defendant until the date of verdict, and Plaintiff specifically seeks reinstatement as a remedy

herein;

          C.          Plaintiff is to be liquidated damages as permitted by applicable law, in an amount

believed by the Court or trier of fact to be appropriate to punish Defendant for their willful,

deliberate, malicious and outrageous conduct, and to deter Defendant or other employers from

engaging in such misconduct in the future;

          D.          Plaintiff is to be accorded any and all other equitable and legal relief as the Court

deems just, proper, and appropriate;




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       E.      Plaintiff is to be awarded the costs and expenses of this action and reasonable

legal fees as provided by applicable federal and state law;

       F.      Any verdict in favor of Plaintiff is to be molded by the Court to maximize the

financial recovery available to Plaintiff in light of the caps on certain damages set forth in

applicable federal law;

       G.      Plaintiff’s claims are to receive a trial by jury to the extent allowed by applicable

law. Plaintiff has also endorsed this demand on the caption of this Complaint in accordance with

Federal Rule of Civil Procedure 38(b).

                                                     Respectfully submitted,

                                                     KARPF, KARPF, & CERUTTI, P.C.


                                              By:
                                                     Ari R. Karpf
                                                     3331 Street Road
                                                     Two Greenwood Square, Suite 128
                                                     Bensalem, PA 19020
                                                     (215) 639-0801

Date: December 17, 2021




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            NOLNTLOMON
                            Case 2:21-cv-05500-MSG
                                               UNITEDDocument  1 Filed
                                                     STATES DISTRICT    12/17/21 Page 12 of 13
                                                                     COURT
                                                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                           DESIGNATION FORM
                     (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                      QRNO=bK=píáäÉë=píêÉÉíI=mÜáä~ÇÉäéÜá~I=m^=NVNOQ
Address of Plaintiff: ______________________________________________________________________________________________
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Address of Defendant: ____________________________________________________________________________________________
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Place of Accident, Incident or Transaction: ___________________________________________________________________________



RELATED CASE, IF ANY:

Case Number: ______________________________                      Judge: _________________________________                    Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                    No X
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                    No X
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier                           Yes                    No X
       numbered case pending or within one year previously terminated action of this court?

4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                    No X
       case filed by the same individual?

I certify that, to my knowledge, the within case              is / X is not related to any case now pending or within one year previously terminated action in
this court except as noted above.

         NOLNTLOMON
DATE: __________________________________                      __________________________________________                               ARK2484 / 91538
                                                                                                                               ___________________________________
                                                                          Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)


CIVIL:

A.            Federal Question Cases:                                                       B.    Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                        1.    Insurance Contract and Other Contracts
       2.     FELA                                                                                2.    Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                           3.    Assault, Defamation
       4.     Antitrust                                                                           4.    Marine Personal Injury
       5.     Patent                                                                              5.    Motor Vehicle Personal Injury
       6.     Labor-Management Relations                                                          6.    Other Personal Injury (Please specify): _____________________
u      7.     Civil Rights                                                                        7.    Products Liability
       8.     Habeas Corpus                                                                       8.    Products Liability –Asbestos
       9.     Securities Act(s) Cases                                                             9.    All other Diversity Cases
       10.    Social Security Review Cases                                                              (Please specify): ____________________________________________
       11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                           ARBITRATION CERTIFICATION
                                                   (

     Ari R. Karpf
I, ____________________________________________ , counsel of record or pro se plaintiff, do hereby certify:

              Pursuant to Local Civil Rule 53.2, § 3(c ) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
     X
              exceed the sum of $150,000.00 exclusive of interest and costs:

              Relief other than monetary damages is sought.


        NOLNTLOMON
DATE: __________________________________                      _____________________________________ _____                            ARK2484 / 91538
                                                                                                                              ___________________________________
                                                                          Attorney-at-Law / Pro Se Plaintiff                              Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 ( /2018)
                                   Case 2:21-cv-05500-MSG Document 1 Filed 12/17/21 Page 13 of 13
JS 44 (Rev. 06/17)                                                           CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                              DEFENDANTS

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                                                                        mÜáä~ÇÉäéÜá~                         ^ka=ob`ob^qflk=abm^oqjbkq                      mÜáä~ÇÉäéÜá~
    (b) County of Residence of First Listed Plaintiff                                                         County of Residence of First Listed Defendant
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                       (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                               NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                             THE TRACT OF LAND INVOLVED.

  (c) Attorneys (Firm Name, Address, and Telephone Number)                                                     Attorneys (If Known)
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II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintif                                    f
                                                                                                          (For Diversity Cases Only)                                             and One Box for Defendant)
❒ 1    U.S. Government               u’ 3      Federal Question                                                                     PTF           DEF                                            PTF      DEF
          Plaintiff                               (U.S. Government Not a Party)                      Citizen of This State          ’ 1           ’ 1     Incorporated or Principal Place         ’ 4     ’ 4
                                                                                                                                                              of Business In This State

❒ 2    U.S. Government                    ’ 4 Diversity                                              Citizen of Another State          ’ 2         ’ 2    Incorporated and Principal Place      ’ 5      ’ 5
          Defendant                              (Indicate Citizenship of Parties in Item III)                                                                of Business In Another State

                                                                                                     Citizen or Subject of a           ’ 3         ’ 3    Foreign Nation                        ’ 6      ’ 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                                   Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                TORTS                               FORFEITURE/PENALTY                            BANKRUPTCY                      OTHER STATUTES
❒   110 Insurance                          PERSONAL INJURY                PERSONAL INJURY            ❒ 625 Drug Related Seizure              ’   422 Appeal 28 USC 158          ❒ 375 False Claims Act
❒   120 Marine                       ’     310 Airplane                 ❒ 365 Personal Injury -            of Property 21 USC 881            ’   423 Withdrawal                 ’ 376 Qui Tam (31 USC
❒   130 Miller Act                   ’     315 Airplane Product               Product Liability      ❒ 690 Other                                     28 USC 157                        3729(a))
❒   140 Negotiable Instrument                   Liability               ❒ 367 Health Care/                                                                                     ❒ 400 State Reapportionment
❒   150 Recovery of Overpayment      ’     320 Assault, Libel &               Pharmaceutical                                                     PROPERTY RIGHTS               ❒ 410 Antitrust
        & Enforcement of Judgment               Slander                       Personal Injury                                                ❒ 820 Copyrights                  ❒ 430 Banks and Banking
❒   151 Medicare Act                 ’     330 Federal Employers’             Product Liability                                              ❒ 830 Patent                      ❒ 450 Commerce
❒   152 Recovery of Defaulted                   Liability               ❒ 368 Asbestos Personal                                              ❒ 835 Patent - Abbreviated        ❒ 460 Deportation
        Student Loans                ’     340 Marine                         Injury Product                                                        New Drug Application       ❒ 470 Racketeer Influenced and
        (Excludes Veterans)          ’     345 Marine Product                 Liability                                                      ❒ 840 Trademark                          Corrupt Organizations
❒   153 Recovery of Overpayment                 Liability                PERSONAL PROPERTY                        LABOR                         SOCIAL SECURITY                ❒ 480 Consumer Credit
        of Veteran’s Benefits        ’     350 Motor Vehicle            ❒ 370 Other Fraud            ❒ 710 Fair Labor Standards              ’ 861 HIA (1395ff)                ❒ 490 Cable/Sat TV
❒   160 Stockholders’ Suits          ’     355 Motor Vehicle            ❒ 371 Truth in Lending               Act                             ❒ 862 Black Lung (923)            ❒ 850 Securities/Commodities/
❒   190 Other Contract                         Product Liability        ❒ 380 Other Personal         ❒ 720 Labor/Management                  ’ 863 DIWC/DIWW (405(g))                  Exchange
❒   195 Contract Product Liability   ’     360 Other Personal                 Property Damage                Relations                       ❒ 864 SSID Title XVI              ❒ 890 Other Statutory Actions
❒   196 Franchise                              Injury                   ❒ 385 Property Damage        ❒ 740 Railway Labor Act                 ’ 865 RSI (405(g))                ❒ 891 Agricultural Acts
                                     ’     362 Personal Injury -              Product Liability       ’ 751 Family and Medical                                                 ❒ 893 Environmental Matters
                                               Medical Malpractice                                           Leave Act                                                         ❒ 895 Freedom of Information
        REAL PROPERTY                        CIVIL RIGHTS                PRISONER PETITIONS          ❒ 790 Other Labor Litigation              FEDERAL TAX SUITS                       Act
❒   210 Land Condemnation             ❒    440 Other Civil Rights         Habeas Corpus:             ❒ 791 Employee Retirement               ❒ 870 Taxes (U.S. Plaintiff       ❒ 896 Arbitration
❒   220 Foreclosure                   ❒    441 Voting                   ❒ 463 Alien Detainee                Income Security Act                     or Defendant)              ❒ 899 Administrative Procedure
❒   230 Rent Lease & Ejectment       u❒    442 Employment               ❒ 510 Motions to Vacate                                              ❒ 871 IRS—Third Party                    Act/Review or Appeal of
❒   240 Torts to Land                 ❒    443 Housing/                       Sentence                                                              26 USC 7609                       Agency Decision
❒   245 Tort Product Liability                 Accommodations           ❒ 530 General                                                                                          ❒ 950 Constitutionality of
❒   290 All Other Real Property      ❒     445 Amer. w/Disabilities -   ❒ 535 Death Penalty                IMMIGRATION                                                                State Statutes
                                               Employment                 Other:                     ❒ 462 Naturalization Application
                                     ❒     446 Amer. w/Disabilities -   ❒ 540 Mandamus & Other       ❒ 465 Other Immigration
                                               Other                    ❒ 550 Civil Rights                 Actions
                                     ❒     448 Education                ❒ 555 Prison Condition
                                                                        ❒ 560 Civil Detainee -
                                                                              Conditions of
                                                                              Confinement

V. ORIGIN (Place an “X” in One Box Only)
u
’ 1 Original    ❒ 2 Removed from                             ❒    3     Remanded from            ❒ 4 Reinstated or       ’     5 Transferred from    ❒ 6 Multidistrict                   ❒ 8 Multidistrict
        Proceeding                State Court                           Appellate Court              Reopened                    Another District           Litigation -                     Litigation -
                                                                                                                             (specify)                      Transfer                         Direct File
                                             Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
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VI. CAUSE OF ACTION Brief description of cause:
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VII. REQUESTED IN     ❒ CHECK IF THIS IS A CLASS ACTION                                                 DEMAND $                                         CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                        JURY DEMAND:        u’ Yes      ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                                JUDGE                                                                                                DOCKET NUMBER
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